 

Case 2:07-cr-00859-DMC Document 24 Filed 11/24/08 Page 1 of 4 PagelD: 47

AO 2458 (Mod. D/NJ 12/06) Sheet 1 - Judgment in a Criminal Case

UNITED STATES DISTRICT COURT
District of New Jersey

UNITED STATES OF AMERICA

v Case Number 2:07cr859-01
JONATHAN ADAMS

Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)
The defendant, JONATHAN ADAMS, was represented by K. Anthony Thomas, AFPD.

The defendant pled guilty to count(s) 1 of the Information on 24 October 2007. Accordingly, the court has adjudicated that
the defendant is guilty of the following offense(s):

Count
Title & Section Nature of Offense Date of Offense Number(s)
18:2251(a) Sexual Exploitation of Children(Production of Child 7/2006 1

Pornography}

As pronounced on 24 November 2008, the defendant is sentenced as provided in pages 2 through 4 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay to the United States a special assessment of $100.00, for count(s) 1, which shall
be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

Itis further ordered that the defendant shail notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the
defendant's economic circumstances.

Signed this the _24 day of November , 2008.

    

DENNIS M. CAVANAUGH
United States District Judge

11232

 
Case 2:07-cr-00859-DMC Document 24 Filed 11/24/08 Page 2 of 4 PagelD: 48

AQ 2458 (Mod. D/NJ 12/06} Sheet 2 - Imprisonment

Judgment — Page 2 of 4
Defendant: JONATHAN ADAMS
Case Number: 2:07cr859-01

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
235 Months.

The Court makes the following recommendations to the Bureau of Prisons: clase to family in California. LOMPAC

The defendant shall remain in custody pending service of sentence.

RETURN

| have executed this Judgment as follows:

 

 

 

 

Defendant delivered on To
At , with a certified copy of this Judgment.

 

United States Marshal

By

Deputy Marshal

 

 
 

Case 2:07-cr-00859-DMC Document 24 Filed 11/24/08 Page 3 of 4 PagelD: 49

AO 245B (Mod. D/NJ 12/06) Sheet 3 - Supervised Release

Judgment — Page 3 of 4
Defendant: JONATHAN ADAMS
Case Number. 2:07cr859-01

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 10 years.

Within 72 hours of release from custody of the Bureau of Prisons, the defendant shall report in person to the Probation
Office in the district ta which the defendant is released,

While on supervised release, the defendant shall comply with the standard conditions that have been adopted by this court
(on the next page).

Based on information presented, the defendant is excused from the mandatory drug testing provision, however, may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.

If this judgment imposes a fine, special assessment, costs, or restitution obligation, it shall be a condition of supervised
release that the defendant pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of
the term of supervised release and shall comply with the following special conditions:

While on supervised release, the defendant shall not commit another federal, state, or local crime, shall be prohibited from
possessing a firearm or other dangerous device, shall not possess an illegal controlled substance and shall comply with the other
standard conditions that have been adopted by this Court. Based on information presented, the defendant is excused fram the
mandatory drug testing provision; however, the defendant may be requested to submit to drug testing during the period of
supervision if the probation officer determines a risk of substance abuse.

In addition, the defendant shall comply with the following special conditions:

The defendant shall not possess, procure, purchase or otherwise abtain access to any form of computer network, bulletin
board, Intemet, or exchange format involving computers unless specifically approved by the U.S. Probation Office. Any
dispute as to the applicability of this condition shall be decided by the Court.

The defendant shall participate in a mental health program for evaluation and/or treatment as directed by the U.S.
Probation Office. The defendant shall remain in treatment until satisfactorily discharged and with the approval of the U.S.
Probation Office.

The defendant shalt follow the directions of the U.S. Probation Office regarding any contact with children of either sex,
under the age of 18. The defendant shall not obtain employment or perform volunteer work which includes, as part of its
job/work description, contact with minor children. The defendant shall not maintain, within his residence or within any
outside establishment within his control or custody, a collection of films, slides, pictures, tapes, videotapes or other form
of pictorial representation whose subject matter involves minor children of either sex and can be deemed to be
pornographic. The probation officer shall have the right of reasonable search of the defendant, his residence, or any other
establishment within the defendant's custody or control, and shall, if necessary, request the assistance of other Jaw
enforcement personnel to enforce the provisions of this special condition.

The defendant shall register with the state sex offender registration agency in any state where the defendant resides, is
employed, carries on a vocation, or is a student, as directed by the probation officer.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall submit to an initial polygraph examination and subsequent maintenance testing, at intervals to be
determined by the probation officer, to assist in treatment, planning, and case monitoring. The defendant will be required
to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on ability to
pay or availability of third-party payment.

 
Case 2:07-cr-00859-DMC Document 24 Filed 11/24/08 Page 4 of 4 PagelD: 50

AO 245B (Mad. D/NJ 12/06) Sheet 3a - Supervised Release

Judgment — Page 4 of 4
Defendant: JONATHAN ADAMS
Case Number: 2:07cr859-01

STANDARD CONDITIONS OF SUPERVISED RELEASE
While the defendant is on supervised release pursuant to this Judgment:
1) The defendant shall not commit another federal, state, or local crime during the term of supervision.
2) The defendant shall not illegally possess a controlled substance.
3) ‘If convicted of a felony offense, the defendant shall not possess a firearm or destructive device.
4) The defendant shall not leave the judicial district without the permission of the court or probation officer.

5) The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
complete written report within the first five days of each month.

6) The defendant shail answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
7) The defendant shall support his or her dependents and meet other family responsibilities.

8) The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
other acceptable reasons.

9) The defendant shall notify the probation officer within seventy-two hours of any change in residence or employment.

10) The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or administer any
narcotic or other controlled substance, or any paraphernalia related to such substances.

11} The defendant shall not frequent places where contralled substances are illegally sold, used, distributed, or administered.

12) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer.

13) Thedefendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed in plain view by the probation officer.

14} The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer.

15} The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court.

16) Asdirected by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendant's compliance with such notification requirement.

Upon a finding ofa violation of probation or supervised release, ] understand that the Court may (1) revoke supervision or
| (2) extend the term of supervision and/or modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them,

|

| associate Probation Officers. (Signed)

| Defendant Date
|

 

|
|
|
You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his |
|
i

 

 

 
